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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION

THOMAS STALLWORTH and
WILLIE MAE STALLWORTH,
     Plaintiffs,
v.
                                                      Case No.: 3:06cv89/MCR/EMT

THE HARTFORD INSURANCE COMPANY,
a Delaware Corporation, et al.,
       Defendants.
_________________________________/
                                             ORDER
       This cause is before the court upon referral from the clerk. On January 5, 2007, this court
issued an order (Doc. 48) granting Plaintiffs’ motion for leave to join Hartford Insurance Company
of the Midwest as Party Defendant. In the order, the court directed Plaintiffs to effect service of
process on Hartford Insurance Company of the Midwest within thirty (30) days from the docketing
of the order. That time has elapsed, and there is no indication on the docket that service has been
effected.
       Accordingly, it is ORDERED:
       1.      Within TWENTY (20) DAYS from the date of docketing of this order Plaintiffs shall
file proof that service has been effected on Hartford Insurance Company of the Midwest. If
Plaintiffs have not effected service on Hartford Insurance Company of the Midwest, they shall show
cause for their failure to comply with the order.
       2.      Failure to comply with the requirements of this order may result in the dismissal of
this cause for failure to comply with an order of the court.
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        DONE AND ORDERED this 7th day of February 2007.


                                       /s/ Elizabeth M. Timothy
                                       ELIZABETH M. TIMOTHY
                                       UNITED STATES MAGISTRATE JUDGE




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